Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 1 of 7 PageID: 1
Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 2 of 7 PageID: 2
Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 3 of 7 PageID: 3
Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 4 of 7 PageID: 4
Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 5 of 7 PageID: 5
Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 6 of 7 PageID: 6
Case 3:10-cv-06047-MLC-LHG Document 1 Filed 11/17/10 Page 7 of 7 PageID: 7
